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FD-302 (Rev. 5-8-10)

                                                  FEDERAL BUREAU OF INVESTIGATION




                                                                                                                          Date of entry       01/12/2021



           On 11 January 2021, SA David Gabriel and SSRA Ryan Jackson interviewed
        Otero County Commissioner Couy Griffin, telephone number 505-235-9239, by
        telephone. After being advised of the identities of the interview Agents and
        the nature of the interview, Griffin provided the following information:

           Couy [pronounced like "koi"] attended the Trump rally in Washington, D.C.
        on 6 January 2021. Couy began his journey to DC on 28 December in El Paso,
        traveling with the Women for America 1st organization. He drove a rented
        car. They made a number of stops along the way to DC. He traveled with Matt
        Struck, phone number 303-875-8926, who runs media for the group
        Couy founded, Cowboys 4 Trump (variant Cowboys For Trump.) They stayed at a
        Homewood Suites near a Hampton Inn about 15 minutes away from the rally. The
        purpose of the trip was to protest the results of the presidential election.
        He did not wear protective equipment. He was not aware of advance plans for
        violence.

           Couy is an "American to the bone" and passionate about exercising his 1st
        and 2nd Amendment rights. Couy noted that he expected the rally to be
        peaceful and that it largely was. Most of the people in the crowd were angry
        and wanted justice regarding the US presidential election.

           After the President's speech, Couy and others walked down to the Capitol
        building, where there was already a large crowd around the barricades.
        Couy got caught up in the crowd, which eventually pushed through the
        barricades. Couy saw many people scaling walls and scaffolding to get up on
        to the Capitol's front patio. In his area, there were people flying flags,
        but no one violent. He did see people breaking windows from a distance, but
        did not get close enough to identify them. However, he thinks they were
        Antifa. Neither Couy nor Matt entered the capitol building. At one point a
        man with a bullhorn gave it to Couy, who led a prayer on the steps.




   Investigation on    01/11/2021           at   Las Cruces, New Mexico, United States (Phone)

   File #   9E-AQ-3369565, 176-WF-3366759, 820I-WF-3271673                                                                   Date drafted    01/11/2021

   by   DAVID S. GABRIEL, JACKSON RYAN LOUIS
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             Griffin was proud of the turnout and commented that seeing the "patriots"
          claiming control of the Capitol "by God it felt pretty damn good." Couy was
          never asked to leave the area by police, and exited peacefully. He even
          encountered a former congressman on the way out and had a nice chat with
          him. Couy and Matt left DC after the rally and drove to California to pay
          their respects to Ashli Babbitt's family.

             The crowd's general sentiment about the Capitol was "this is our house."
          Couy believes the FBI should be investigating Antifa that he believes were
          in the crowd inciting violence and the Capitol Police for shooting
          Ashli Babbitt. Couy thinks the shooting was planned because he saw another
          Capitol Police officer in the shooting video give a thumbs up after
          Babbitt was shot, which to him suggested a plan had been executed.

             Couy is planning to return to DC for the rally on the 20th using his own
          personal truck. He is not planning to attend the Santa Fe, NM rally
          scheduled for 17 January 2021. Couy hopes the protests will be non-violent
          and that a change can be effected "without a single shot being fired."
          Couy believes his statements have been misinterpreted and is adamant that he
          does not want anyone to be hurt. However, he noted that there is "no option
          that's off the table for the sake of freedom."

             Couy has not been contacted by any extremist group like "the skinheads"
          to speak on their behalf, and does not support those groups. He stated he
          would inform the FBI if he encountered any individuals attempting to
          organize violence at the protest because it would hurt the movement's goals
          and he did not want anyone to get injured.

             Couy has a firearm that he keeps with him, although he does not have a
          concealed carry permit. Couy believes that in New Mexico, you do not need a
          concealed carry permit to keep a weapon in your vehicle because it is an
          extension of one's person.

             Couy and the Otero County Government have received a number of threats
          related to Couy's political activity. SAs encouraged Couy to report threats
          to the FBI. Couy is aware of where the legal line is between making threats
          and protected first Amendment speech, and does not believe he is threatening
          anyone. He appreciated the Agents advising him to be cautious and asked that
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          FBI contact him if they believed his comments may be a violation of law so
          that he can avoid jail.
